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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                        ***
      DEUTSCHE BANK NATIONAL TRUST
4     COMPANY AS TRUSTEE FOR NEW
      CENTURY HOME EQUITY LOAN TRUST,
5                                                           2:20-cv-01706-APG-VCF
      SERIES  2005-D, ASSET     BACKED
      PASSTHROUGH CERTIFICATES,                             ORDER
6
                           Plaintiff,
7
      vs.
8
      WESTCOR LAND TITLE INSURANCE
9     COMPANY; DOE INDIVIDUALS I through X;
      and ROE CORPORATIONS XI through XX,
10    inclusive,

11                          Defendants.

12          Before the court are the Motion to Stay Discovery (ECF No. 15) and the Stipulated Discovery Plan

13   and Scheduling Order (ECF No. 16).

14          Accordingly,

15          IT IS HEREBY ORDERED that a video conference hearing on the Motion to Stay Discovery

16   (ECF No. 15) and the Stipulated Discovery Plan and Scheduling Order (ECF No. 16), is scheduled for

17   1:00 PM, November 30, 2020, in Courtroom 3D.

18          IT IS FURTHER ORDERED that counsel/the parties must email Courtroom Administrator,

19   Tawnee Renfro at Tawnee_Renfro@nvd.uscourts.gov, with an email address to be used for the video

20   conference hearing by noon, November 23, 2020.

21          IT IS ORDERED that the following Video Conference Instructions be adhered to as follows:

22          INSTRUCTIONS FOR THE VIDEO CONFERENCE

23          Instructions to the scheduled hearings will be sent via email thirty (30) minutes prior to the hearing

24   to the participants email provided to the Court.

25          • Log on to the call ten (10) minutes prior to the hearing time.
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1    • Mute your sound prior to entering the hearing.

2    • Do not talk over one another.

3    • State your name prior to speaking for the record.

4    • Do not have others in the video screen or moving in the background.

5    • No recording of the hearing.

6    • No forwarding of any video conference invitations.

7    • Unauthorized users on the video conference will be removed.

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9    DATED this 10th day of November, 2020.
                                                           _________________________
10                                                         CAM FERENBACH
                                                           UNITED STATES MAGISTRATE JUDGE
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